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13                                UNITED STATES DISTRICT COURT
14                                        DISTRICT OF NEVADA
15
   KOIN MOBILE, LLC, a Nevada limited
16 liability company,                                      CASE NO.: 3:24-cv-00178-ART-CSD
17                          Plaintiff,
     v.                                                    ORDER GRANTING
18
   EVERI HOLDINGS INC., f/k/a Global Cash                  STIPULATION TO EXTEND THE
19 Access Holdings, Inc., a Delaware                       BRIEFING SCHEDULE AND PAGE
   Corporation, and EVERI PAYMENTS INC.,                   LIMITS REGARDING DEFENDANTS’
20 f/k/a Global Cash Access, Inc., a Delaware              ANTICIPATED MOTION TO
   Corporation,                                            DISMISS
21
                         Defendants.                       (FIRST REQUEST)
22

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24
             Plaintiff Koin Mobile, LLC, and Defendants Everi Holdings, Inc., and Everi Payments
25
      Inc., by and through their respective undersigned counsel, file this Stipulation and Order to
26
      Extend the Briefing Schedule and Page Limits Regarding Defendants’ Anticipated Motion to
27
      Dismiss, and state the following:
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 1           1.        Plaintiff filed its Complaint on April 19, 2024. (ECF No. 1.)
 2           2.        The Court approved the parties’ stipulation to extend the time for Defendants to
 3   file a responsive pleading until July 8, 2024. (ECF No. 22.)
 4           3.        Defendants anticipate filing a motion to dismiss on July 8, 2024. Defendants
 5   anticipate their motion to dismiss will exceed the 24-page limit imposed by Local Rule LR 7-
 6   3(b).
 7           4.        Given the complex nature of federal antitrust cases in general, and the
 8   complexities raised by Plaintiff’s Complaint, Plaintiff anticipates that its counsel will need
 9   additional time beyond the 14 days provided by Local Rule LR 7-2(b) to file a response to
10   Defendants’ forthcoming motion to dismiss. Additionally, Plaintiff’s attorneys have various pre-
11   arranged personal commitments in July 2024 that will impact drafting a response to Defendants’
12   anticipated motion to dismiss.
13           5.        Similarly, Defendants anticipate that their counsel will need additional time
14   beyond the 7 days provided by Local Rule LR 7-2(b) to file a reply in support of their motion to
15   dismiss.
16           6.        Based on the foregoing, and pending approval by the Court, the parties stipulate
17   as follows:
18                 •   Plaintiff shall have six weeks, or until August 19, 2024, to file its response to
19                     Defendants’ forthcoming motion to dismiss.
20                 •   Defendants shall have four weeks, or until September 16, 2024, to file their reply
21                     in support of their forthcoming motion to dismiss.
22                 •   Defendants shall have six additional pages, or a total of 30 pages, for their
23                     forthcoming motion to dismiss, and shall provide a table of contents and a table of
24                     authorities, as required by Local Rule LR 7-3(c).
25                 •   Plaintiff shall have six additional pages, or a total of 30 pages, for its response to
26                     Defendants’ forthcoming motion to dismiss, and shall provide a table of contents
27                     and a table of authorities, as required by Local Rule LR 7-3(c).
28                 •   Defendants shall have three additional pages, or a total of 15 pages, for their reply

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 1                   in support of their forthcoming motion to dismiss, and shall provide a table of
 2                   contents and a table of authorities, as required by Local Rule LR 7-3(c).
 3               •   This stipulation does not prevent the parties from requesting additional relief from
 4                   the Court either before or after Defendants file their anticipated motion to dismiss
 5                   and the parties reserve all rights.
 6          7.       This is the parties’ first stipulation seeking additional time to file a response to
 7   Defendants’ anticipated motion to dismiss and reply in support of the same. This is also the
 8   parties’ first stipulation seeking additional pages regarding the briefing on Defendants’
 9   anticipated motion to dismiss. Further, the parties certify that their requests are made in good
10   faith and not intended for purposes of delay.
11
      Dated: June 18, 2024                                     Dated: June 18, 2024
12

13    HOLLAND & HART LLP                                       GIBSON, DUNN & CRUTCHER LLP

14
      /s/: Joshua M. Halen                                     /s/: Samuel G. Liversidge
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                                                           3
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 2                                            gblumberg@dickinsonwright.com
 3

 4                                            Attorneys for Defendants
 5

 6
                                              IT IS SO ORDERED:
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 8                                            ____________________________________
 9                                            ANNE R. TRAUM
                                              UNITED STATES DISTRICT JUDGE
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                                              Dated: June 21, 2024
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